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 From:                    Jennifer Metzger Stinnett
 Sent:                   Tuesday, July 12, 2016 9:14 PM
 To:                      Michael Sherman; Daniel Charest(dcharest@burnscharest.com); Barak Kamelgard; Will Thompson
                         (wthompson@burnscharest.com); Andrew Bynum (abynum@burnscharest.com); David Harris
 Cc:                     Ben Fultz; Twila Carson; Amy Hoagland; Corey Shapiro; Matt Williams; Julie Ziegler
 Subject:                RE: Outstanding issues


 Michael —

Thank you for the response.

First, I agree we need to speak about the depositions. I am trying to confirm two things before we do:(1) which of the
17 depositions are priority that Orr wants to schedule immediately(but we cannot have them next week —Ben and
both have conflicts that prevent us from getting to LA) and (2) how many depositions of ORR i can get scheduled that
first week of August as you requested. I hope to have answers on both of these tomorrow and then will call you. We
were thinking the last two weeks of August and first week of September (in hopes, of course, that we have Ironclad's ESI
at that point)for the depositions of Ironclad's people.

Second, your response fails to provide any substantive responses or indication when Ironclad will provide a response to
my June 24 privilege letter, and most important, Ironclad's position on the documents that were re-redacted that Orr
still believes were inappropriately redacted.

Third, we will wait to hear from Daniel tomorrow on AEO, but cannot wait any longer than that on whether or not fees
will be paid.

Fourth, I believe that David and Corey did not get any closer to an ESI agreement today than before. Corey is responding
in that regard, but suffice to say, Orr cannot standby any longer without having an agreement on the electronic
discovery.

Fifth, as to Vibram, you are correct that this is the first time I have brought it up —because we just received and began
reviewing the documents. But the real issue is that there have been numerous representations by Ironclad that they
have reviewed all of Cordes's electronic files and produced ail responsive documents. These Vibram communications
should have been in his files (since they were with him) and are clearly relevant. So either these files were destroyed or
the representation is false. You can understand my concern, especially coupled with the many other discovery
issues. So, I do appreciate you looking into this and responding to it quickly. As to Orr's agreement with Vibram
regarding the production of everything as AEO but allowing Mr. Herr to review certain documents on a case by case
basis, the information is Vibram's, and if it is comfortable with this process, Ironclad has no basis to object.

Finally, I look forward to hearing from you all promptly on the work product/litigation hold issue. I also would like to
know whether or not the former board members have actually agreed to be represented by Ironclad, or if this is an issue
similar to that as with Rice and Castro.

 do apologize for the long emails. But I think it is best that we document our positions since there is so much going on
right now.

Jenny




                                                                                                 APPENDIX - 159
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 Sent: Tuesday, July 12, 2016 1:48 PM
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                                                                          com); David Harris
 Cc: Ben Fuitz; Twila Carson; Amy Hoagland; Corey Shapiro; Matt Williams
                                                                         ; Julie Ziegler
 Subject: RE: Outstanding issues

 Jenny

 Daniel is handling AEO issues, and I understand he will be responding substant
                                                                                ively, either later today or tomorrow. In
 the interim, I can advise that we have discussed payment of attorneys'fees,
                                                                              made recommendations to the client re
 same, and have been engaged within the last few business days in gathering
                                                                              some of the information you mast recently
 requested on AEO issues.

 Regarding your point about the interrelated issues of(a) work product assertio
                                                                                     ns,(b)the dates of communications that
 are the subject of such assertions, and (c) your inquiry about the litigation hold,
                                                                                       having discussed the matter with both
 David and Barak I tell you that this is the first time this issue has been raised by ORR
                                                                                           in connection with any meet and
 confer. We will review your point and timely respond.

  do presently anticipate representing all of the former board members you have indicate
                                                                                         d an intention to take
 deposition testimony of. If that expectation changes, you will be made aware.

Regarding ESI — I too understand that Corey and David are speaking about it today {not
                                                                                       sure when). The issues are
extraordinarily complicated (and expensive), and threats about getting guidance
                                                                                from the Court do not make much
sense.

Regarding Vibram's document production, the information you shared with me
                                                                                 is the first time I have been made aware
of the points you raised. We will look into the issues from our end and timely respond.
                                                                                           Your separate discussion with
Vibram's counsel about modifications to the AEO protocol (which you tell us about for the
                                                                                              first time in your below e-
mail) are not modifications that Ironclad has agreed-on.

 still think it would be a good idea to speak, directly with one another, on the depositi
                                                                                            on scheduling rather than leave
this right now to e-mail exchanges, however on the subjects you raised in your other
                                                                                          e-mail from last night, I assume you
have spoken to your client. Please get back to me on the proposal I made yesterday. In
                                                                                              terms of "which depositions"
Ironclad is specifically objecting — at this juncture Ironclad's objection is focused on the
                                                                                             sheer number, i.e., 17. While
issues of unreasonable cumulativeness and duplicativeness exist throughout the line-up,
                                                                                               I don't feel like I'm in a position
to tell you how to pare down your list.

Finally, please add David Harris to your group e-mail communications in the future.
                                                                                    Thanks for your attention to that.

Regards
Michael




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  Subject: Outstanding issues




  We have many outstanding issues that we have attempted to resolve over the last several
                                                                                              weeks. As of today, despite
  repeated requests for responses, I have not heard from Ironclad on (1) payment of the
                                                                                         AEO attorneys' fees and the
  other outstanding items requested in this regard and (2) my June 24, 2016 letter detailing
                                                                                             the remaining privilege
  issues. If we do not hear from you and reach an acceptable resolution, we are going to
                                                                                          file the appropriate motions. We
  have more than adequately met and conferred and/or tried to meet and confer on these
                                                                                            issues.

  In conjunction with the privilege issue, and based on the work product assertions by Stubbs
                                                                                              Alderton as far back as early
  2014, Orr needs to know when the litigation hold was put into place by Ironclad. Please advise.

 1 also need to know if IC's attorneys are going to represent the former board of director member
                                                                                                  s and therefore I need
 to work through you all for their depositions.

  understand that Corey and David are touching base on ESI tomorrow. Again, we cannot drag this out
                                                                                                    any longer, and if
 a resolution cannot be reached, we will have to get guidance from the Court.



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 Last but certainly not least, Orr has received over 13,000 docume
                                                                    nts pursuant to its subpoena to Vibram. Despite your
 representation of producing all responsive documents in Cordes'
                                                                    s electronic file, even from a cursory review, there are
 hundreds of emails between Cordes and Vibram that were not
                                                                  produced by Ironclad. This is very disconcerting, and Orr
 believes an explanation is warranted (see litigation hold inquiry
                                                                   above). Further, this only confirms the need for the
 parties to go forward with the ESI Agreement. In order to expedit
                                                                     e the production, Orr agreed that all of Vibram's
 documents be designated as AEO, and if that designation became
                                                                     an issue on an individual document, we would simply
 ask Vibram's counsel to change the designation. In addition,
                                                                Vibram's counsel agreed that Orr's in house counsel could
 review documents as needed despite the AEO designation, but
                                                                  that he would not have full electronic access to the
 production.

 hope to hear from you all. But because our deadlines are likely
                                                                 not going to move at this point, we have to get these
issues resolved and move forward.

Thank you for your cooperation.

Jenny




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